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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-149
STEPHANIE HAZELTON, : VIOLATIONS:
also known as “Ayla Wolf,” : 18 U.S.C. § 1512(c)(2)
also known as “Ayla Wolfe” : (Obstruction of an Official Proceeding)
> = 18 U.S.C. § 231(a)(3)
Defendant. : (Civil Disorder)
> «6-18 U.S.C. § 2
Aiding and Abetting)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(E)

(Impeding Passage Through the Capitol
Grounds or Buildings)

INDICTMENT Case: 1:21-cr-00030

Assigned To : Bates, John D.
The Grand Jury charges that: Assign. Date : 1/27/2021

Description: INDICTMENT (B)
COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, STEPHANIE
HAZELTON, also known as “Ayla Wolf,” also known as “Ayla Wolfe,” attempted to, and did,

corruptly obstruct, influence, and impede an official proceeding, that is, a proceeding before
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Congress, by attempting to enter the United States Capitol without authority, by committing an act
of civil disorder, and by engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO
On or about January 6, 2021, within the District of Columbia, STEPHANIE
HAZELTON, also known as “Ayla Wolf,’ also known as “Ayla Wolfe,” committed and
attempted to commit an act to obstruct, impede, and interfere with a law enforcement officer,
lawfully engaged in the lawful performance of his/her official duties incident to and during the
commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected
the conduct and performance of a federally protected function.

(Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,
Section 231(a)(3) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, STEPHANIE
HAZELTON, also known as “Ayla Wolf,” also known as “Ayla Wolfe,” did unlawfully and
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
or otherwise restricted area within the United States Capitol and its grounds, where the Vice
President and Vice President-elect were temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, STEPHANIE
HAZELTON, also known as “Ayla Wolf,” also known as “Ayla Wolfe,” did knowingly, and with

intent to impede and disrupt the orderly conduct of Government business and official functions,
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engage in disorderly and disruptive conduct in and within such proximity to, a restricted building
and grounds, that is, any posted, cordoned-off, or otherwise restricted area within the United States
Capitol and its grounds, where the Vice President and Vice President-elect were temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, STEPHANIE
HAZELTON, also known as “Ayla Wolf,” also known as “Ayla Wolfe,” willfully and knowingly
engaged in disorderly and disruptive conduct in any of the Capitol Buildings with the intent to
impede, disrupt, and disturb the orderly conduct of a session of Congress and either House of
Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a
committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT SIX
On or about January 6, 2021, within the District of Columbia, STEPHANIE
HAZELTON, also known as “Ayla Wolf,” also known as “Ayla Wolfe,” willfully and knowingly
obstructed, and impeded passage through and within, the United States Capitol Grounds and any
of the Capitol Buildings.

(Impeding Passage Through the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(E))

A TRUE BILL:

FOREPERSON.

pl loon

Attorney of the United States in
and for the District of Columbia.
